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    1
                             UNITED STATES DISTRICT COURT
    2                       CENTRAL DISTRICT OF CALIFORNIA
    3

    4 CURTIS MARKSON, et al.,

    5               Plaintiffs,                     CASE NO. 5:17-cv-01261
    6
                                                    [PROPOSED] ORDER GRANTING
    7         vs.                                   DEFENDANT SCHNEIDER
    8                                               NATIONAL CARRIERS’ MOTION
                                                    TO APPEAR REMOTELY VIA
    9 CRST INTERNATIONAL, INC., et al.,             ZOOM AT HEARING ON
   10               Defendants.                     DEFENDANTS' MOTION FOR
                                                    SUMMARY JUDGMENT
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             The Court, having considered the motion of Schneider National Carriers, along
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        with the supporting Declaration of Nicholas J. Giles, and for good cause shown,
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   19 hereby grants the motion. IT IS ORDERED that the request of Nicholas J. Giles to

   20
        appear   remotely   via   Zoom   at   the    hearing   on   Defendants' Motion for
   21
        Summary Judgment, which is scheduled to take place on August 5, 2022, is
   22

   23 hereby GRANTED.

   24
        DATED: ______________                 _______________________________
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                                              HON. STANLEY BLUMENFELD, JR.
                                              United States District Judge
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